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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


UNITED STATES OF AMERICA

-vs-                                                           Case No. 8:01-CR-445-T-30MAP

ERIC FLOWERS
______________________________/

                                            ORDER

       This matter comes before the Court upon Defendant’s Notice of Appeal (Dkt. #318), which

the Court has construed as a Motion for Certificate of Appealability, and Defendant’s Affidavit

(Dkt. #322), which the Court has construed as a Motion for Leave to Appeal In Forma Pauperis.

       To merit a certificate of appealability, Petitioner must show that reasonable jurists would

find debatable both (1) the merits of the underlying claim and (2) the procedural issues he seeks

to raise. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 478 (2000); Eagle v.

Linahan, 279 F.3d 926, 935 (11th Cir 2001). Because the petition was denied for reasons that

reasonable jurists would not find debatable, Petitioner has failed to meet the Slack test. 529 U.S.

at 484. Defendant has failed to make a substantial showing of the denial of a constitutional right.

See 28 U.S.C. § 2253(c).

       ACCORDINGLY, the Court ORDERS that:

       1.     Defendant’s Motion for Certificate of Appealability (Dkt. #318) is DENIED.

       2.     Defendant’s Motion for Leave to Appeal In Forma Pauperis (Dkt. #322) is

              DENIED.
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         DONE and ORDERED in Tampa, Florida on August 24, 2006.




Copies furnished to:
Counsel/Parties of Record
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